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                     IN THE UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA

MELVIN BROWN,                                  )
                                               )
       Plaintiff,                              )
                                               )
                                               )
       v.                                      )       Case No: 14-00140 (TSC)
                                               )
                                               )
SANDRA HILL, et al.,                           )
                                               )
       Defendants.                             )

 PLAINITFF MELVIN BROWN’S REPLY TO THE DEFENDANTS DAVID WALKER
         AND AMELIA VILLARUZ’S OPPOSITION TO PLAINTIFF’S
                   MOTION FOR RECONSIDERATION

                                         INTRODUCTION

       a) On March 15, 2015, this Court entered an order in response to a remand from the

United States Court of Appeals for the District of Columbia Circuit in which this Court applied

the relation back provisions of Fed. R. Civ. P. 15(c) to Plaintiff Melvin Brown’s amendment to

his original complaint. Prominently contained in this amended pleading are the allegations raised

against Defendant Amelia Villaruz. See “Amended Complaint” at Mot. to Reconsider Dkt.

Entry# 141, Exh. B. In fact, a summons was issued for Amelia Villaruz that was returned

unexecuted. The only thing that has changed since this Court filed Plaintiff’s Amended

Complaint is that Amelia Villaruz was served with process. Given this prior opinion that

recognized the interest of justice addressed by the D.C. Circuit in its reversal and remand, the

equitable interests at play in the “law of case doctrine,” Plaintiff’s pro se status at the time of

fling, Fed R Civ. P. 15(c) along with the other palpable equitable concerns implicated in this

case, reconsideration is required. This Court committed “clear error” by dismissing Amelia

Villaruz.

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       b) There are no set rules or required form for pleading under the federal rules of civil

procedure. Under Fed. R. Civ. P. 8(a) all that is needed is a short plain and concise statement that

provides ample notice to a defendant of the claims raised against them. Nothing requires a

detailed and independent statement of parties. By pursuing this argument the District of

Columbia would have this Court apply a hyper-technical reading of Fed. R. Civ. P. 8(a) that is at

odds with the lenient and liberal pleading standards that have always been a part of the federal

rules. The fact remains that the District of Columbia is identified as a party defendant throughout

the complaint, was properly served with process and is within the jurisdiction of the Court based

on the allegations in the Fourth Amended Complaint. Again, and given the state of the record,

the error is obvious and clear.

       c) And last, the issue before the Court in terms of Plaintiff’s sect. 1983 claim is whether

the “Privacy Rule” of HIPAA creates a right to protected health information. This Court did not

answer this question. This was an obvious misapprehension of the issue presented in Plaintiff’s

opposition to David Walker’s motion to dismiss the Fourth Amended Complaint.

       In response, defendant David Walker introduces new arguments unrelated to those claims

raised under 42 U.S.C. 1983. For the first time Walker now argues that any claims raised under

42 U.S.C.1983 are time-barred under the three (3) year limitation period. This issue was neither

addressed in this Court’s opinion that limited its order to the one (1) year limitation for D.C.

Code § 7-1201.01 et seq. nor the motion to reconsider.

                                           ARGUMENT

       The standard for clear error embodied by Fed R. Civ. P. 54 (b) does not require a change

in laws or arguments that could have been raised. The rule allows for the misapprehension of




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arguments and avoiding those legal errors as justice requires. Indeed, this standard is flexible. In

these terms, the discretion of the Court is broad.

        A) The controlling precedence for relating back Plaintiff’s Fourth Amended is clear.
           In response to the D.C. Circuit’s reversal and remand off this Court’s previous order,
           this Court ordered that and Amended Complaint that included allegations against
           Amelia Villaruz relate back under Fed. R. Civ. P. 15(c) to the original complaint. For
           this as well as other reasons the Court dismissing the Counts against Amelia Villaruz
           was and remains “clear error.”

        On March 15, 2015, this Court entered an order in response to a remand from the United

States Court of Appeals for the District of Columbia Circuit in which this Court applied the

relation back provisions of Fed. R. Civ. P. 15(c) to Plaintiff Melvin Brown’s amendment to his

original complaint. Prominently contained in this amended pleading are the allegations raised

against Defendant Amelia Villaruz. The specific naming of Villaruz as a defendant followed

complaints about being placed in CPEP, held and transferred to PIW (“Psychiatric Institute of

Washington”). See Mot. to Reconsider, Dkt. Entry # 141, Exh. A. To place this issue in context

and to give clarity to the unfairness of the “clear error” a brief factual history is appropriate.

        On January 30, 2014, Plaintiff Melvin Brown filed suit in the United States District Court

for the District of Columbia. Dkt Entry 1. It is not disputed that this was within the three (3)

limitations period for the claims filed by Plaintiff. On March 4, 2014, Plaintiff filed a notice of

appeal from a dismissal of this complaint. Dkt. Entry 5. On September 22, 2014, the D.C. Circuit

issued its mandate directing this Court to vacate the order of dismissal and consider Plaintiff’s

complaint that was filed under 42 U.S.C. 1983. Dkt. Entry 8. On October 22, 2014, this Court

ordered Plaintiff to file an amended complaint within 30 days of that order. Dkt Entry 10.

Plaintiff filed his amended complaint on November 22, 2014. Dkt Entry 13. Included as a

defendant in this Amended Complaint was Amelia Villaruz, an employee of the District of

Columbia, for the events complained of in the Fourth Amended Complaint. Id. Summonses were

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issued for all defendants, including defendant Amelia Villaruz. Docket Order, April 24, 2015.

The summons for Amelia Villaruz was returned as unexecuted on June 19, 2015. Dkt. Entry# 29.

After the parties moved to dismiss the amended complaint, on March 19, 2018 in a

Memorandum Opinion this Court ordered, in pertinent part, that the Amended Complaint “relate

back” under Fed. R. Civ. P. 15 (c) to the timely filed original complaint. Dkt. Entry# 57. In this

Court’s 2018 order, it stated:

       The court is mindful of the D.C. Circuit's remand order, particularly its observation that,
       if Plaintiff were to have filed a new complaint with 42 U.S.C. § 1983 as a basis for this
       Court's jurisdiction, the complaint would have been time-barred. In the interest of justice,
       the D.C. Circuit directed this court to allow Plaintiff an opportunity to amend his
       complaint. Under these circumstances, the court will treat the allegations of the Amended
       Complaint as relating back to the original complaint filed on December 11, 2013.
       Therefore, the Plaintiff's § 1983 claims against Green Door and Walker are timely filed.

Brown v. Hill, 174 F.Supp.3d 66 (D.D.C. 2016).

       The March 19, 2018 Memorandum Order ostensibly established the law of the case for

the Amended Complaint that either set the Amended Complaint as the operative complaint or, as

in the case of pro se plaintiffs, supplements the original complaint. LaShawn A. v. Barry, 87

F.3d 1389, 1393 (D.C. Cir. 1996)(en banc)(“The doctrine of law of the case comes into play only

with respect to issues previously determined.”); Kimberlin v. Quinlan, 199 F.3d 496, 500 (D.C.

Cir. 1999)(“the law of the case may be revisited only if there is an intervening change in the law

or if the previous decision was ‘clearly erroneous and would work a manifest injustice.'”). In his

Opposition to Amelia Villaruz’s Motion to Dismiss the Complaint Plaintiff argued that this

Court should, at a minimum, be compelled to consider Plaintiff’s subsequent pleadings with the

Original Complaint that Defendant Villaruz admits was timely filed. Plaintiff further argued that

these equitable and jurisprudential concerns should be considered in terms of Fed. R. Civ. P.

15(c). Both the D.C. Circuit remand that recognized equitable considerations with the then pro se



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plaintiff and this Court’s March 19, 2018, Memorandum and Order entered in response to this

remand further compel a conclusion that the Fourth Amended Complaint relates back to the

timely filed Original Complaint. The only thing that has changed since this Court filed Plaintiff’s

Amended Complaint is that Amelia Villaruz was served with process. Contrary to Defendant

Villaruz’s assertion, the law and authority is in fact controlling and the result is “clear error.”

       The result reached by the Court was clear error for other jurisprudential reasons. First,

this prior opinion accepted the Amended Complaint as the then operative complaint in the

litigation or as supplemental to the original complaint. In either event, both the District of

Columba and its employees were put on notice of the complained of events. Though unable to

identify specific parties, the Original Complaint nonetheless complains about his hospitalization

at CPEP as illegal. Mot. for Reconsideration, Dkt. Entry# 141 at Exh. A. This Court had no

problem applying the jurisprudential concerns expressed by the D.C. Circuit in its reversal and

remand in 2014 and should not raise these concerns now. This opinion is controlling, and the

result in dismissing all counts against defendant Amelia Villaruz is “clear error.”

       B) Under Fed R. Civ P. 8(a), there are no set rules or formats for pleading

       There are no set rules or required form for pleading under the federal rules of civil

procedure. Under Fed. R. Civ. P. 8(a) all that is needed is a short plain and concise statement that

provides ample notice to a defendant of the claims raised against them. Nothing requires a

detailed and independent statement of parties. By pursuing this argument the District of

Columbia would have this Court apply a hyper-technical reading of Fed. R. Civ. P. 8(a) at odds

with the lenient and liberal pleading standards that have always been a part of the federal rules.

Given the state of the record, the error is obvious and clear.




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          Without restating every instance in which the District of Columbia was named as a party

defendant to the litigation, it is safe to say that every count alleged against the District of

Columbia identifies it as a defendant. Moreover, both the Mayor of the District of Columbia and

the Office of the Attorney General for D.C. were both served with process thereby bringing the

District of Columbia into the litigation as a party defendant. All allegations establish the District

of Columbia within the jurisdiction of the Court. To hold otherwise is both obvious and clear

error.1

          C) This Court did not consider or decide the dispositive issue of whether the “Privacy
             Rule” of HIPAA creates a protected right in protected mental health information. This
             is a clear misapprehension of the argument presented to oppose David Walker’s
             Motion to Dismiss the Complaint.




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  First, So Others Might Eat (“SOME”) did not oppose Plaintiff’s motion for this Court to
reconsider its sua sponte order dismissing SOME as a defendant. The motion as to SOME must
therefore be treated as conceded. As argued in the motion to reconsider the Court’s sua sponte
dismissal of SOME was clear error. Local Civil Rule 7(b)(requires that a party opposing a
motion serve and file an opposition at the time directed by the Court; if he fails to do so, "the
court may treat the motion as conceded." ) also see Cohen v. Bd. of Trs. of the Univ. of D.C.,819
F.3d 476, 480 (D.C. Cir. 2016); Fox v. Am. Airlines, Inc.,389 F.3d 1291, 1293-94 (D.C. Cir.
2004).

        In paragraph 7, Plaintiff identified John Adams in his official capacity by stating:
“Defendant John Adams is the President of So Other Might Eat (“SOME”) a community-based
organization operating in the District of Columbia with an address of 70 O Street, NW
Washington D.C. 20001.” Official capacity suits against corporate officers are always deemed
against the corporate entity. By both rule and longstanding precedence corporate entities may be
brought into a litigation by service of process on the corporate officers in their official capacities.
Fed. R. Civ. P. 4(d)(3) also see Masterson-Cook v. Criss, 722 F.Supp 810 (D.D.C. 1989). And
like the District of Columbia, SOME is identified as a party defendant within the jurisdiction of
the Court in every alleged count and throughout the complaint. Dismissing SOME and the
District of Columbia from the Fourth Amended Complaint would apply a hyper-technical
reading of Fed. R. Civ. P. 8(a) at odds with the lenient and liberal pleading standards that have
always been a part of the federal rules and Fed. R. Civ. P. 4(d)(3). In the interest of justice, the
more appropriate course would to substitute SOME for defendant Adams and/or Gerlach. Given
the state of the record, the error is obvious and clear.



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         In its opinion, this Court makes a single determination that Plaintiff’s theory that the

violation of HIPAA did violate due process because the statute did not create a private right of

action. See Health Information Portability and Accountability Act, 42 U.S.C. 1320d-6, 45 CFR

160 & 164. The October 15, 2020, Memorandum Opinion states:

                Even if Walker’s disclosure violated HIPAA, and even if the disclosure of
                protected mental health information played some part in Plaintiff’s involuntary
                commitment, Plaintiff cannot repackage a HIPAA claim as a substantive due
                process claim. HIPAA does not create a private right of action.

Mem. Op. Oct. 15, 2020 at p. 21. Indeed, all authority cited by the Court is limited to the issue of

an implied private right of action. This limited inquiry, however, does not resolve the issue.

         Through explicit terms the United States Supreme Court has drawn a distinction between

the required inquiry defining implied private rights of action and the enforceable rights

cognizable under 42 U.S.C. Sect. 1983. The Court explained that "whether a statutory violation

may be enforced through § 1983 is a different inquiry than that involved in determining whether

a private right of action can be implied from a particular statute." Gonzaga v. Doe, 556 U.S. 273,

283 (2002). Namely, plaintiffs proceeding under § 1983 "do not have the burden of showing an

intent to create a private remedy because § 1983 generally supplies a remedy for the vindication

of rights secured by federal statutes." Id. at 284.” Duberry v. D.C. 14 cv1258 (D.D.C. 2015).

Instead, plaintiffs must prove that an enforceable right exists within the statute. Id. By simply

holding that no implied private right of action exists within HIPAA does not begin to address the

important and prominent issue of whether an enforceable right was created by the statute. The

result is a misapprehension of law the requires reconsideration by the Court under Fed. R. Civ. P.

54(b).

         For his part, David Walker makes new arguments neither addressed by the Court in its

opinion dismissing David Walker for the violations alleged in the Fourth Amended Complaint

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nor any motion to reconsider. The Memorandum Order only discusses the timeliness of claim is

for the claim arising under Violation of D.C. Code § 7-1201.01 et seq. (Count IX) that provides a

one (1) year limitation. Nothing in the opinion considers the three (3) year limitations applied to

42 U.S.C. Sect. 1983 as argued by David Walker.

          Even so, applying the foregoing standards and arguments addressed in Part A of this

Reply Brief and in Part A of the Motion for Reconsideration, the Counts alleging violations

under 42 U.S.C. 1983 against David Walker relate back to the original complaint and are thereby

timely.

                                           CONCLUSION

          For the reasons stated herein, any opposition, the reply, the law, the facts and the record

herein, this Court must grant Plaintiff Melvin Brown’s Motion to Reconsider the Court’s Order

Dismissing Amelia Villaruz, David Walker, the District of Columbia and So Other Might Eat,

vacate its order, and order these defendants to answer Plaintiff Melvin Brown’s Fourth Amended

Complaint.

Respectfully submitted,

       /s/
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                               CERTIFICATE OF SERVICE

       I do hereby certify that on this 17th day of November 2020, a copy of this Reply to

Defendant David Walker’s Opposition to Plaintiff’s Motion for Reconsideration was served by

electronic service on:

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    /s/
GEORGE E. RICKMAN




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